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                                                            Big Spying in Little Marco’s State Department




                             The Trump administration is requiring that foreign students studying in, or
                             seeking to study in the United States, pass an ideological test in order to obtain a
                             visa, according to a “sensitive” State Department directive issued by Secretary of
                             State Marco Rubio and which I obtained.

                             The crackdown, instituted on Tuesday, makes it “mandatory” for consular officers
                             and State Department personnel to conduct a “social media review” — including
                             screenshotting posts — of new and returning student visa applicants for any
                             evidence of terrorist connections. Such connections are defined broadly to include
                             “advocating for, sympathizing with, or persuading others to endorse or espouse
                             terrorist activities or support” a terrorist organization. Though the document
                             doesn’t explicitly define what counts as advocacy, it mentions “conduct that bears
                             a hostile attitude toward U.S. citizens or U.S. culture (including government,
                             institutions, or founding principles).”




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                             Specific reference is made to students seeking to participate “in pro-Hamas
                             events,” which is how the Trump administration has characterized student
                             protests against the war in Gaza.

                             "When you apply to enter the United States and you get a visa, you are a guest,”
                             Secretary of State Marco Rubio said on March 16 in remarks quoted in the
                             directive “If you tell us when you apply for a visa, I'm coming to the U.S. to
                             participate in pro-Hamas events, that runs counter to the foreign policy interest of
                             the United States ….. if you had told us you were going to do that, we never would
                             have given you the visa."

                             The order to “comprehensively review and screen every visa applicant” appears
                             directed at Palestinian and other foreign students who are “sympathetic” to
                             Hamas, but typical of every government directive, it also opens the door for
                             broader ideological vetting. It also directs the social media of visa applicants to be
                             assessed for “potential security and non-security related ineligibilities [that] pose a
                             threat to U.S. national security.”

                             The directive, dated March 25, bears the subject line “Enhanced Screening and
                             Social Media Vetting for Visa Applicants.” It begins with a reference to two of
                             Trump’s executive orders, including one on “measures to combat anti-semitism”
                             and another on combating foreign terrorists and other national security threats to
                             public safety. The directive applies to F, M, and J student visa, which encompass:

                                  F visa (Academic Student): Full-time students at an accredited college,
                                  university, seminary, conservatory, academic high school, elementary school,
                                  or other academic institution or in a language training program.

                                  M visa (Vocational Student): Students in vocational or other nonacademic
                                  programs, other than language training.

                                  J visa (Exchange Visitors): Foreign nationals in the United States for
                                  educational, cultural, or work-related exchange programs, such as teaching,
                                  studying, conducting research, or receiving training.

                             “Evidence suggesting a student visa applicant intends to travel to the United
                             States to engage in unlawful activities clearly calls into question whether the
                             applicant possesses intent and/or the ability to solely pursue a full course of
                             study,” the directive also says.

                             The order requires visa decision-makers to take screenshots of “potentially
                             derogatory information” to both document their decisions and to prevent visa
                             applicants and holders from deleting or altering their previous posts.

                             What social media is reviewed and how that is done is governed by the State
                             Department Foreign Affairs Handbook section 7 FAH-1 H-954.4, according to the




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                             directive, dealing with “Social Media Review.” That section of the handbook,
                             though otherwise online, has not been released to the public.

                             I’ve included a copy of the leaked directive in its entirety below so you can see for
                             yourself what you think. If you appreciate journalism that respects its readers
                             intelligence enough to let them come to their own conclusions, do us a solid by
                             becoming a paid subscriber.




                             — Edited by William M. Arkin

                             MRN: 25 STATE 26168

                             Date/DTG: Mar 25, 2025 / 251914Z MAR 25

                             From: SECSTATE WASHDC

                             Action: ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE –
                             Immediate

                             E.O.: 13526

                             TAGS: CVIS, CMGT, PTER, KFRD

                             Captions: SENSITIVE

                             Reference: 25 STATE 5914

                             Subject: (U) Action Request: Enhanced Screening and Social Media Vetting for
                             Visa Applicants

                               1. (U) This is an action request. See paragraph 7.

                               2. (SBU) SUMMARY: The protection of our nation and its citizens is a consular
                                  officer’s first consideration. Pursuant to the implementation of Executive
                                  Order (E.O.) 14161 and E.O. 14188, known respectively as Protecting the United
                                  States from Foreign Terrorists and Other National Security and Public Safety
                                  Threats, and Additional Measures to Combat Anti-Semitism, effective
                                  immediately, consular officers must refer certain student and exchange visitor
                                  (F, M, and J) visa applicants to the Fraud Prevention Unit (FPU) for a
                                  mandatory social media check as described below. As the Secretary stated on
                                  March 16: “We don’t want people in our country that are going to be
                                  committing crimes and undermining our national security or the public safety.
                                  It’s that simple. Especially people that are here as guests. That is what a visa
                                  is… It is a visitor into our country. And if you violate the terms of your


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                                  visitation, you are going to leave.” The Visa Office will host webinars for
                                  consular officers to discuss this guidance on April 3 and April 4, 2025. END
                                  SUMMARY.

                               3. (SBU) Consular Officers Play a Critical Role in Protecting National Security:
                                  As part of screening every case for potential ineligibilities, consular officers
                                  MUST ADDRESS any derogatory information indicating that a visa applicant
                                  may be subject to the terrorism-related ineligibility grounds of the
                                  Immigration and Nationality Act (INA). This includes advocating for,
                                  sympathizing with, or persuading others to endorse or espouse terrorist
                                  activities or support a DESIGNATED FOREIGN TERRORIST
                                  ORGANIZATION (FTO).

                               4. (SBU) Every Visa Decision is a National Security Decision: In Ref A, the Visa
                                  Office directed consular officers to maintain extra vigilance and to
                                  comprehensively review and screen every visa applicant for potential security
                                  and non-security related ineligibilities including to assess whether the
                                  applicant poses a threat to U.S. national security. Any nonimmigrant visa
                                  applicant who has not established to a consular officer's satisfaction that the
                                  applicant meets all standards required in that visa classification should be
                                  refused under 214(b), as appropriate. This includes establishing that the
                                  applicant does not intend to engage in activities inconsistent with the
                                  requested visa status. If 214(b) does not apply to the visa classification,
                                  consular officers should refuse any nonimmigrant or immigrant visa case
                                  presenting such concerns under section 221(g) of the INA for further review of
                                  additional ineligibility grounds, including by requesting a Security Advisory
                                  Opinion (SAO), as appropriate.

                               5. (U) This was reflected well by the Secretary's statement on March 16, that
                                  "when you apply to enter the United States and you get a visa, you are a
                                  guest...if you tell us when you apply for a visa, I'm coming to the U.S. to
                                  participate in pro-Hamas events, that runs counter to the foreign policy
                                  interest of the United States…..if you had told us you were going to do that, we
                                  never would have given you the visa."

                               6. (SBU) Situations that Cast Doubt on Students' Intent or Credibility: As
                                  described in 9 FAM 402,5-5(C), an applicant applying for an F-1 or M-1
                                  student visa must demonstrate intent to enter the United States solely to
                                  pursue a full course of study at an approved institution. In addition, J-1 visa
                                  applicants who are college, university, and other post-secondary students are
                                  required to pursue a full course of study as described in 9 FAM 402.5-6(E)(11).
                                  Evidence suggesting a student visa applicant intends to travel to the United
                                  States to engage in unlawful activities clearly calls into question whether the
                                  applicant possesses intent and/or the ability to solely pursue a full course of
                                  study. While many activities may not fall under the INA's definitions of
                                  "terrorist activity," you should otherwise consider that information in



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                                  assessing the credibility of a visa applicant's claimed purpose of travel. INA
                                  section 214(b) requires the applicant to show credibly that all activities in
                                  which he or she is expected to engage in while in the United States are
                                  consistent with the specific requirements of their visa classification.

                               7. (SBU) ACTION REQUEST: Mandatory Social Media Reviews for Students
                                  and Student Exchange Visitors. Effective immediately, consular officers must
                                  refer all new or returning F-1, M-1, or student J-1 visa applications meeting
                                  one or more of the following criteria, that the consular officer has determined
                                  is otherwise eligible for the requested nonimmigrant status, to the FPU via
                                  ECAS as described in Z FAH-1 H-945.4,_ using the SOCIAL MEDIA REVIEW
                                  category. All student visa case referred for social media vetting under the
                                  criteria below must be referred in ECAS to ensure global tracking of this
                                  work:

                                   a. (SBU) An applicant who is otherwise eligible and for whom you have
                                       reason to believe has openly advocated for a designated foreign terrorist
                                       organization;

                                   b. (SBU) An applicant who was previously in the United States in F-1, M-1, or
                                       J-1 visa status between October 7, 2023, and August 31, 2024; or

                                   c. (SBU) An applicant whose previous SEVIS record was terminated between
                                       October 7, 2023, and the present.

                               8. (SBU) Documenting the Results of the Social Media Review: If the social
                                  media review uncovers potentially derogatory information indicating that the
                                  applicant may not be eligible for a visa, Fraud Prevention Units are required
                                  to take screenshots of social media findings to the extent it is relevant to a
                                  visa ineligibility, to preserve the record against the applicant's later alteration
                                  of the information. Limit screenshots to information relevant to connecting
                                  the applicant, the applicant's actions, and a visa ineligibility. The screenshots
                                  must be uploaded to the applicant's case record in the CCD. Consular officers
                                  do not need to upload social media findings if the review does not reveal
                                  derogatory information, but consular officers must enter case notes stating
                                  they conducted a social media review which did not reveal derogatory
                                  information. When a social media review uncovers potentially derogatory
                                  information which may lead to INA 212(a)(3) ineligibilities, consular officers
                                  should follow the instructions in 9 FAM 304.2 to submit an SAO. Consular
                                  officers are reminded to only apply inadmissibility grounds under INA 212(a)
                                  in accordance with applicable procedures including to request an SAO or
                                  Advisory Opinion (AO) as directed in the Foreign Affairs Manual
                                  FAM).

                               9. (SBU) Support for Terrorist – Grounds and Definitions for INA 212(a)(3)(B):
                                  All consular officers should carefully review 9 FAM 302.6 to understand the
                                  grounds under which an applicant may be ineligible under 3B, including that
                                  an applicant who "endorses or espouses terrorist activity or persuades others


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                                  to endorse or espouse terrorist activity or support a terrorist organization" is
                                  ineligible. Consular officers should consider these grounds and definitions
                                  when conducting interviews and pursuing lines of inquiry. Because terms in
                                  INA 212(a)(3)(B), are broadly defined, consular officers should elicit as much
                                  pertinent information as possible from visa applicants with suspected ties to
                                  terrorist organizations or terrorist activity. This includes the names of all
                                  relevant organizations potentially involved in terrorist activity and the
                                  applicant's relationship with them (for example, by current membership or
                                  past financial contributions or other support). Evidence that an applicant
                                  advocates for terrorist activity, or otherwise demonstrates a degree of public
                                  approval or public advocacy for terrorist activity or a terrorist organization,
                                  may be indicative of ineligibility under INA 212(a)(3)(B). This may be evident
                                  in conduct that bears a hostile attitude toward U.S. citizens or U.S. culture
                                  (including government, institutions, or founding principles). Or it may be
                                  evident in advocacy or sympathy for foreign terrorist organizations. All of
                                  these matters may open lines of inquiry regarding the applicant's credibility
                                  and purpose of travel. Consular officers should inquire into the nature and
                                  activities of those organizations. If a consular officer believes an applicant
                                  may be ineligible under this provision or otherwise has any evident ties to a
                                  foreign terrorist organization, the consular officer must refuse the case 221(g)
                                  and request an SAO.

                             10. (SBU) Intention to Engage in Unlawful Activity: Consular officers are also
                                  reminded of guidance in 9 FAM 302.5-4 regarding the applicability of INA
                                  212(a)(3)(A)(ii) under which a visa applicant is ineligible if the consular officer
                                  knows or has reason to believe that the applicant is traveling to the United
                                  States solely, principally, or incidentally to engage in any other unlawful
                                  activity. Consular officers should take care to enter detailed case notes
                                  regarding the specific activities expected in the United States and request an
                                  advisory opinion per 9 FAM 302.5-4(g).

                             11. (SBU) Revocations of Valid Visas: If, subsequent to visa issuance, information
                                  becomes available to post that an individual may no longer be eligible for a
                                  visa due to particularized information indicating an ineligibility under
                                  specific INA provisions, including 214(b), post should follow the procedures to
                                  revoke or request prudential revocation as described in 9 FAM 403.11 for
                                  nonimmigrant visas or 9 FAM 504.12 for immigrant visas. The Visa Office
                                  reminds posts that consular officers do not have the authority to revoke a visa
                                  based on a suspected ineligibility or based on derogatory information that is
                                  insufficient to support an ineligibility finding - other than a revocation based
                                  on driving under the influence (DUI) - and that such cases should be referred
                                  to CA/VO/SAC/RC in accordance with 9 FAM 403.11-5(B) for further review. A
                                  consular officer's revocation must be based on an actual finding that the
                                  individual is ineligible for the visa.




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                             12. (U) Additional Guidance: The Visa Office will host webinars for consular
                                  officers to discuss this guidance on Thursday, April 3 and Friday, April 4,
                                  2025. Invitations with links to these webinars will be sent separately. The
                                  FAM will be updated to reflect this guidance.

                             13. (U) Inquiries: Post must refer any U.S. media inquiries regarding E.O.s to CA-
                                  Press@state.gov and congressional inquiries regarding E.O.s to
                                  ConsularOnTheHIll@state.gov. Posts may respond to requests from
                                  international media regarding E.O.s using CA's cleared press guidance
                                  located on CA Web, copying CA-PRESS@STATE.GOV.

                             14. (U) Minimize considered.




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